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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                _____________________

UNITED STATES OF AMERICA,
                                                           Case No. 1:07-CR-150-01
              Plaintiff,

v.                                                         Hon. Richard Alan Enslen

BERNARD FOUNTAIN WOGOMAN,
                                                           ORDER
            Defendants.
_____________________________/


       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS HEREBY ORDERED that:

       1.     The Report and Recommendation of the Magistrate Judge filed July 17, 2007, is

APPROVED AND ADOPTED as the Opinion and Findings of this Court.

       2.     Defendant Bernard Fountain Wogoman’s plea of guilty to Count One of the

Indictment is accepted. Defendant Bernard Fountain Wogoman is adjudicated guilty.

       3.     Defendant Bernard Fountain Wogoman shall be detained pending sentencing.

                                            /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                     RICHARD ALAN ENSLEN
    August 30, 2007                         SENIOR UNITED STATES DISTRICT JUDGE
